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    13
         Martinez and Agustin Aguilar [Counsel continued on last page below]
    14
                           UNITED STATES DISTRICT COURT
    15

    16             FOR THE CENTRAL DISTRICT OF CALIFORNIA
    17
       SERGIO GALICIA               )         Case No.: 5:17-cv-00390-JGB (RAOx)
    18 GONZALEZ, an individual,     )         (Consolidated with Case No. 5:17-cv-
                                    )
       appearing on behalf of himself         00571-JGB (RAOx))
    19
                                    )
       and all others similarly situated,
    20                              )         PLAINTIFFS’ MEMORANDUM IN
               Plaintiff,           )         SUPPORT OF MOTION FOR
    21
                                    )         MONETARY AWARDS TO CLASS
    22                 vs.          )         REPRESENTATIVES, CLASS
                                    )         COUNSEL AND SETTLEMENT
    23
         BMC WEST, LLC, a Delaware )          ADMINISTRATOR
    24   limited liability company, )
                                    )         Date: November 19, 2018
    25
               Defendant.           )         Time: 9:00 a.m.
    26                              )         Ctrm: 1
    27
                                                     MEMORANDUM IN SUPPORT OF
    28                                               MOTION FOR MONETARY AWARDS TO
                                                     CLASS REPRESENATIVES, CLASS
                                                     COUNSEL AND ADMINISTRATOR - 1
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                                                                         MEMORANDUM IN SUPPORT OF
    28                                                                   MOTION FOR MONETARY AWARDS TO
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                      MEMORANDUM OF POINTS AND AUTHORITIES
     1
               Plaintiffs Sergio Galicia Gonzalez, Ernesto Jimenez, Luis Pimentel, Jorge
     2
         Garcia, Miguel Martinez and Agustin Aguilar (“Plaintiffs” or “Class
     3
         Representatives”) submit the following memorandum in support of their motion
     4
         for awards of (i) Incentive Payments to Plaintiffs, (ii) attorneys’ fees and costs
     5
         to Class Counsel and (iii) settlement administration costs and expenses to the
     6
         Administrator of the class action settlement (“Settlement”) between Plaintiffs
     7
         and Defendant BMC West, LLC (“Defendant” or “BMC”).
     8
               I.   INTRODUCTION
     9
               By this motion, Plaintiffs seek an award from the Court of (i) Incentive
    10
         Payments to Plaintiffs for their services to the Class in the amount of $10,000 to
    11
         each Plaintiff; (ii) attorneys' fees payable to Class Counsel collectively, Robert
    12
         W. Skripko, Jr. of the Law Office of Robert W. Skripko, Jr., PC, Paul J. Denis
    13
         and Ethan E. Rasi of Denis & Rasi, PC, Gregg A. Farley of the Law Offices of
    14
         Gregg A. Farley and Sahag Majarian, II, of the Law Offices of Sahag Majarian,
    15
         in the amount of $1,137,500.00 (25 percent of the Gross Settlement Amount of
    16
         $4,550,000.00 under the Settlement); (iii) out-of-pocket litigation costs and
    17
         expenses to Class Counsel collectively in the amount of $22,565.41; and (iv)
    18
         costs and expenses of claims administration to Simpluris, Inc. (“Simpluris”) as
    19
         Administrator in the amount of $99,782.00. The reasonableness of the
    20
         requested awards is shown by the following:
    21
               • First, Class Counsel and Plaintiffs achieved a significant result for the
    22
         Class in this Settlement. Through their efforts, Plaintiffs achieved a Settlement
    23
         in the amount of $4,550,000 for a Class consisting of 9,360 Class Members,
    24
         including 2,456 Valid Claimants who worked 50.37 percent of all Work Weeks.
    25
         (Kincannon Decl. ¶ 16).
    26

    27
                                                        MEMORANDUM IN SUPPORT OF
    28                                                  MOTION FOR MONETARY AWARDS TO
                                                        CLASS REPRESENATIVES, CLASS
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               • Second, this is a common fund case in which the Court normally
     1
         would have the discretion to adopt a lodestar or percentage-of-the-fund method
     2
         of determining attorneys' fees. But if the Court elects to use the percentage-of-
     3
         the-fund method as the starting point for such a determination, Plaintiffs submit
     4
         that the 25 percent “benchmark” should be considered a fair and reasonable
     5
         measure of the value of Class Counsel’s services rendered to the Class. As
     6
         shown in Class Counsel’s declarations, the lodestar or reasonable value of Class
     7
         Counsel's services, at prevailing market rates, is approximately $949,217.50.
     8
         Twenty-five percent of the common fund of $4,550,000 translates into a fee
     9
         award of $1,137,500, which would be just 1.20 times ($1,137,500 ÷ 949,217.50
    10
         = 1.20) the lodestar value of Class Counsel’s services. Plaintiffs request a fee
    11
         award equal to the 25 percent benchmark, as specified in the Settlement,
    12
         because it would compensate Class Counsel for the risks assumed and skills
    13
         displayed in this Consolidated Action. (Farley Decl. ¶¶ 31-36).
    14
               • Third, if the Court approves of the requested deductions from the
    15
         Settlement, the Net Settlement Amount available to be distributed to Class
    16
         Members is expected to be approximately $3,111,040.75. The average
    17
         Settlement Payment to Valid Claimants under the Settlement is therefore
    18
         estimated by the Administrator to be approximately $637.92, with Valid
    19
         Claimants who worked the entire Class Period expected to receive
    20
         approximately $1,908.00. (Kincannon Decl. ¶ 21).
    21
               • Fourth, the requested cost award of $22,565.41 consists of out-of-
    22
         pocket litigation costs and expenses incurred by Class Counsel and is $7,434.59
    23
         less than the $30,000 in litigation costs and expenses authorized by the
    24
         Settlement. Moreover, both the requested fee and cost awards are supported by
    25
         detailed billing and expense records. (Farley Decl. ¶¶ 31-33, 15, Ex. A;
    26

    27
                                                       MEMORANDUM IN SUPPORT OF
    28                                                 MOTION FOR MONETARY AWARDS TO
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         Majarian Decl. ¶¶ 6-8, Ex. A; Skripko Decl. ¶¶ 11-13, Ex. A; Denis Decl. ¶¶
     1
         10-12, Ex. A; Rasi Decl. ¶¶ 10-12, Ex. A).
     2
               • Fifth, the requested Incentive Payment of $10,000.00 to each Plaintiff
     3
         is consistent with awards in similar wage and hour settlements and reflects the
     4
         amount of effort and risk Plaintiffs undertook in prosecuting this Action. It is,
     5
         moreover, only slightly more than five (5) times greater than the $1,908 which,
     6
         as mentioned above, each Valid Claimant who worked the entire Class Period
     7
         would be entitled to receive under the Settlement. (Kincannon Decl. ¶ 21).
     8
               II.    LEGAL ARGUMENT
     9
               A.     Plaintiffs Seek A Fee Award Under The Percentage-Of-
    10
                      Common Fund Methodology
    11
               “Where a settlement produces a common fund for the benefit of the
    12
         entire class, courts have discretion to employ either the lodestar method or the
    13
         percentage-of-recovery method” of determining the amount of attorneys' fees
    14
         to award class counsel. In re Bluetooth Headset Products Liab. Litig., 654
    15
         F.3d 935, 942 (9th Cir. 2011). However, this “discretion must be exercised so
    16
         as to achieve a reasonable result.” Id. If, for example, the common fund is so
    17
         large (i.e., a so-called “megafund”) that use of the 25 percent benchmark would
    18
         result in a windfall for class counsel, then there must be a downward departure
    19
         from the benchmark, or the benchmark must be replaced entirely by the
    20
         lodestar method. Conversely, if the common fund is modest in comparison to
    21
         the effort in attorneys' fees required to obtain it, then the benchmark should be
    22
         adjusted upward. See, e.g., Six (6) Mexican Workers v. Arizona Citrus
    23
         Growers, 904 F.2d 1301, 1311 (9th Cir. 1990) (“The benchmark percentage
    24
         should be adjusted, or replaced by a lodestar calculation, when special
    25
         circumstances indicate that the percentage recovery would be either too small
    26
         or too large in light of the hours devoted to the case or other relevant factors.”);
    27
                                                        MEMORANDUM IN SUPPORT OF
    28                                                  MOTION FOR MONETARY AWARDS TO
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                                                        COUNSEL AND ADMINISTRATOR - 4
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         In re Bluetooth, 654 F.3 at 942 (same); Vandervort v. Balboa Capital Corp., 8
     1
         F. Supp. 3d 1200, 1209 (C.D. Cal. 2014) (“In 'megafund' cases, fees will
     2
         commonly be under the benchmark, while in smaller cases -- particularly
     3
         where the common fund is under $10 million -- awards more frequently exceed
     4
         the benchmark.”).
     5
               This is because it would be an abuse of discretion to use a mechanical
     6
         formula that leads to an unreasonable award. See In re Bluetooth, 654 F.3 at
     7
         944 (holding it is an abuse of discretion when a district court “ ' uses a
     8
         mechanical or formulaic approach that results in an unreasonable reward'
     9
         ”(quoting In re Mercury Interactive Corp., 618 F.3d 998, 992 (9th Cir. 2010));
    10
         Fischel v. Equitable Life Assurance Soc'y, 307 F.3d 997, 1007 (9th Cir. 2002)
    11
         (“Reasonableness is the goal, and mechanical or formulaic application of either
    12
         method, where it yields an unreasonable result, can be an abuse of discretion”
    13
         (quoting In re Coordinated Pretrial Proceedings in Petroleum Prods. Antitrust
    14
         Litig., 109 F.3d 602, 607 (9th Cir. 1997)). For that reason, in most common
    15
         fund cases, the award exceeds the 25 percent benchmark. See Knight v. Red
    16
         Door Salons, Inc., 2009 WL 248367 at * 7 (N.D. Cal. 2009) (In “most common
    17
         fund cases, the award exceeds that benchmark.”); In re Activision Sec. Litig.,
    18
         723 F. Supp. 1373, 1377-78 (N.D. Cal. 1989) (“[n]early all common fund
    19
         awards range around 30%”) .
    20
               “When assessing whether the percentage requested is reasonable, courts
    21
         look to factors such as: (a) the results achieved; (b) the risk of litigation; (c) the
    22
         skill required; (d) the quality of work; (e) the contingent nature of the fee and
    23
         the financial burden; and (f) the awards made in similar cases.” Vasquez v.
    24
         Coast Valley Roofing, Inc., 266 F.R.D. 482, 492 (E.D. Cal. 2010) (citing
    25
         Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) and Six
    26
         (6)Mexican Workers, 904 F.2d 1301). Here, although Plaintiffs are providing
    27
                                                         MEMORANDUM IN SUPPORT OF
    28                                                   MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
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          the Court with information regarding Class Counsel's lodestar as a “cross-
      1
          check,” Plaintiffs assume that the Court will wish to use the 25 percent
      2
          benchmark as the starting point for its analysis of the amount of attorneys' fees
      3
          to be awarded. Based on results achieved, Plaintiffs request that Class Counsel
      4
          be awarded fees in the full amount of the 25 percent benchmark -- namely, fees
      5
          of $1,137,500 out of the Gross Settlement Amount of $4.55 million. As stated
      6
          above and discussed below, such an award would represent a modest multiplier
      7
          of 1.20 times the lodestar value of those fees which is $949,217.50. (Farley
      8
          Decl. ¶¶ 31-36; Majarian Decl. ¶¶ 6-8; Skripko Decl. ¶¶ 11-13; Denis Decl. ¶¶
      9
          10-12; Rasi Decl. ¶¶ 10-12).
     10
                 As discussed below, Plaintiffs believes that the 25 percent benchmark is
     11
          justified in the Consolidated Action by the factors discussed below, including
     12
          the skill displayed by Class Counsel in obtaining the Settlement and the
     13
          lodestar value of Class Counsel's services rendered on behalf of the Class.
     14
                 B.     Benchmark Factors Support A 25 Percent Fee Award
     15
                 As stated above, courts look to some or all of the following six factors in
     16
          deciding whether deviation from the 25 percent benchmark is appropriate: (i)
     17
          the results achieved; (ii) the risk of litigation; (iii) the skill required; (iv) the
     18
          quality of work; (v) the contingent nature of the fee and the financial burden;
     19
          and (vi) the awards made in similar cases. See Vizcaino, 290 F.3d at 1047;
     20
          Vasquez, 266 F.R.D. at 492.
     21
                        1. Results Achieved
     22
                 The “overall result and benefit to the class from the litigation is the most
     23
          critical factor in granting a fee award.” Knight, 2009 WL 248367 at * 5 (N.D.
     24
          Cal. 2009) (citing In re Heritage Bond Litig., 2005 WL 1594403 at *19 (C.D.
     25
          Cal. 2005)); Hensley v. Eckerhard, 461 U.S. 424, 436 (1983) (holding that the
     26
          “most critical factor is the degree of success obtained”).
     27
                                                            MEMORANDUM IN SUPPORT OF
     28                                                     MOTION FOR MONETARY AWARDS TO
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                Here, Plaintiffs obtained a Settlement with a Gross Settlement Amount
      1
          of $4.55 million. As reported in Plaintiffs’ prelimary and final approval
      2
          motions, this Gross Settlement Amount represents approximately 36.73 percent
      3
          of Defendant's potential exposure which Class Counsel estimated at
      4
          $12,388,886. (Farley Decl. ¶ 20). As such, the Settlement is in the range of
      5
          settlements that have been held to justify an increased percentage distribution
      6
          to class counsel. See, e.g., In re Crazy Eddie Secs. Litig., 824 F. Supp. 320,
      7
          323, 326 (E.D.N.Y. 1993) (increasing 25% benchmark to 33.8% where counsel
      8
          recovered 10% of damages); In re Gen. Instr. Secs. Litig., 209 F.Supp.2d 423,
      9
          431, 434 (E.D. Pa. 2001) (awarding one-third fee from $48 million settlement
     10
          fund that was approximately 11% of the plaintiffs' estimated damages); In re
     11
          Corel Corp. Inc. Secs. Litig., 293 F. Supp. 2d 484, 489-90, 498 (E.D. Pa. 2003)
     12
          (awarding one-third in fees from $7 million settlement fund which represented
     13
          approximately 15% of class' damages); Cullen v. Whitman, 197 F.R.D. 136,
     14
          144, 148 (E.D. Pa. 2000) (awarding one-third in fees from settlement
     15
          representing 17% of total damages). Nevertheless, despite the excellent result,
     16
          Plaintiffs are not seeking any increase above the 25 percent benchmark.
     17
                       2. Risk of Litigation
     18
                “The risk that further litigation might result in Plaintiffs not recovering
     19
          at all, particularly in a case involving complicated legal issues, is a significant
     20
          factor in the award of fees.” Knight, 2009 WL 248367 at *6 (N.D. Cal. 2009)
     21
          (citing Vizcaino, 290 F.3d at 1038). The complexity of Plaintiffs' claims that
     22
          Defendant allegedly violated multiple provisions of the California Labor Code
     23
          underscores the risk accepted by Class Counsel in prosecuting this
     24
          Consolidated Action.
     25
                When Class Counsel undertook prosecution of the Consolidated Action,
     26
          there was no guarantee that Plaintiffs and the Class would succeed on the
     27
                                                         MEMORANDUM IN SUPPORT OF
     28                                                  MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
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          merits or achieve a favorable settlement. This uncertainty and the risks
      1
          associated with continued litigation support the awarding of a fee in the amount
      2
          of the 25 percent benchmark.
      3
                       3. Skill Required and Quality of Work
      4
                “[T]he quality of Class Counsel's effort, experience and skill is
      5
          demonstrated in the exceptional result achieved.” In re Heritage Bond
      6
          Litigation, 2005 WL 1594403 at *19 (citing Behrens v. Wometco Enters., Inc.,
      7
          118 F.R.D. 534, 547-48 (S.D. Fla. 1988)). Here, the quality of Class Counsel’s
      8
          effort, experience and skill is demonstrated by the result achieved, which is a
      9
          $4.55 million Settlement in a wage and hour case involving over 9,000 Class
     10
          Members.
     11
                The experience of Class Counsel further justifies the fee award
     12
          requested. In re Gen. Instr. Secs. Litig., 209 F. Supp. 2d at 432-433 (awarding
     13
          a fee award of one-third of a common fund based in part on the experience of
     14
          counsel); In re Public Serv. Co. of New Mexico, 1992 WL 278452 at *8 (S.D.
     15
          Cal. 1992) (finding that experience of counsel favored one-third fee award
     16
          from common fund). Class Counsel in this Consolidated Action consist of five
     17
          (5) Class Counsel who are experienced in wage and hour class actions. As
     18
          reflected in their accompanying declarations, Class Counsel collectively have
     19
          more than 100 years experience. (Farley Decl. ¶ 2; Majarian Decl. ¶ 2; Skripko
     20
          Decl. ¶ 2; Denis Decl. ¶ 2; Rasi Decl. ¶ 2). Mr. Farley alone has practiced law
     21
          for more than 30 years, has both prosecuted and defended class actions in state
     22
          and federal court and writes and lectures frequently regarding wage and hour
     23
          class actions. (Farley Decl. ¶¶ 2-6). Likewise, Mr. Skripko, has been an
     24
          attorney for 28 years and has been appointed as class counsel in numerous
     25
          wage and hour class actions in state and federal court. (Skripko Decl. ¶¶ 2-4).
     26

     27
                                                        MEMORANDUM IN SUPPORT OF
     28                                                 MOTION FOR MONETARY AWARDS TO
                                                        CLASS REPRESENATIVES, CLASS
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                By the same token, Class Counsel invested significant time and
      1
          resources to achieve the Settlement. As shown in the detailed itemizations of
      2
          fees and costs accompanying their declarations, Class Counsel have
      3
          collectively spent 1,583.55 hours investigating, prosecuting and settling this
      4
          Consolidated Action. (Farley Decl. ¶¶ 31-36, Ex. A; Majarian Decl. ¶¶ 6-8,
      5
          Ex. A; Skripko Decl. ¶¶ 12-13; Ex. A; Denis Decl. ¶¶ 11-12, Ex. A; Rasi Decl.
      6
          ¶¶ 11-12; Ex. A).
      7
                       4. Contingent Nature of Fee and Financial Burden
      8
                Courts consistently recognize that the risk of non-payment or
      9
          reimbursement of expenses is a factor in determining the appropriateness of
     10
          class counsel's fee award. See, e.g., In re Medical X-Ray Film Antitrust Litig.,
     11
          1998 WL 661515 at *7 (E.D.N.Y. 1998) (justifying fee award in part due to
     12
          years spent by counsel in litigation without certainty of compensation); In re
     13
          Crazy Eddie Secs. Litig., 824 F. Supp. at 326 (same).
     14
                In this instance, Class Counsel proceeded entirely on a contingency
     15
          basis, while paying for all expenses incurred. As stated above, Class Counsel
     16
          collectively invested 1,583.55 hours of time, during which time Class Counsel
     17
          were precluded from working on other matters. Despite the risk of loss, Class
     18
          Counsel collectively also advanced $22,565.41 in out-of-pocket expenses.
     19
          (Farley Decl. ¶¶ 31-36, Ex. A; Majarian Decl. ¶ 8, Ex. A; Skripko Decl. ¶ 13;
     20
          Ex. A; Denis Decl. ¶ 12, Ex. A; Rasi Decl. ¶ 12, Ex. A). Awarding less than
     21
          the 25 percent benchmark of $1,137,500 would mean, in effect, that Class
     22
          Counsel were not being compensated for the risk of non-payment which they
     23
          assumed at the beginning of the Consolidated Action. As the Ninth Circuit
     24
          observed in Vizcaino:
     25
                “[C]ourts have routinely enhanced the lodestar to reflect the risk of non-
     26
                payment in common fund cases.” [citation omitted]. This mirrors the
     27
                                                        MEMORANDUM IN SUPPORT OF
     28                                                 MOTION FOR MONETARY AWARDS TO
                                                        CLASS REPRESENATIVES, CLASS
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                established practice in the private legal market of rewarding attorneys
      1
                for taking the risk of nonpayment by paying them a premium over their
      2
                normal hourly rates for winning contingency cases.
      3
          Vizcaino, 290 F.3d at 1051 (citing Kerr v. Screen Extras Guild, Inc., 526 F.2d
      4
          67, 69-70 (9th Cir. 1975)). Here too, the Court should compensate Class
      5
          Counsel for the risk of non-payment due to the contingent nature of their
      6
          representation by awarding at least the amount of the 25 percent benchmark.
      7
                       5. Awards Made in Similar Cases
      8
                Finally, although 25 percent is the recognized benchmark in the Ninth
      9
          Circuit, numerous Ninth Circuit courts have awarded higher percentages in
     10
          similar circumstances. See,e.g., In re Mego Fin. Corp. Sec. Litig., 213 F.3d
     11
          454, 460 (9th Cir. 2000) (affirming fee award equal to one-third of total
     12
          recovery); Betancourt v. Advantage Human Resourcing, Inc., 2016 WL 344532
     13
          at * 9 (Jan. 28, 2016) (awarding 34.3% of settlement fund in wage and hour
     14
          class action); Wren v. RGIS Inventory Specialists, 2011 WL 1230826 at *29
     15
          (N.D. Cal. 2011) (awarding fees “amount to just under 42% of the settlement
     16
          amount” in a wage and hour class action); Vasquez, 266 F.R.D. at 492 (citing
     17
          to five recent wage and hour class actions where district courts approved
     18
          attorneys' fees ranging from 30 to 33⅓%); Knight, 2009 WL 248367 at *5-6
     19
          (approving of a 30% fee award in a wage and hour class action settlement);
     20
          Romero v. Producers Dairy Foods, Inc., 2007 WL 3492841 at *4 (E.D. Cal.
     21
          2007) (approving a 33% fee award in a wage and hour class action settlement);
     22
          In re Public Ser. Co. of New Mexico, 1992 WL 278452 at *1(awarding one-
     23
          third); In re Activision Secs. Litig., 723 F. Supp. at 1377 (finding “that a figure
     24
          of approximately 30% is substantially justified”); Vandeervort, 8 F.Supp.3d at
     25
          1210 (approving 33% award of fees and costs and a 2.52 multiplier).
     26
          //
     27
                                                         MEMORANDUM IN SUPPORT OF
     28                                                  MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
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                C.     Lodestar Comparison
      1
                In accordance with Ninth Circuit precedent, district courts within the
      2
          Ninth Circuit have recognized that a lodestar comparison need not be
      3
          performed where a fee award based on a percentage of the common fund is
      4
          otherwise reasonable. See, e.g., Glass v. UBS Financial Services, Inc., 2007
      5
          WL 221862 at *15 (N.D. Cal. 2007) (court declined to conduct a lodestar
      6
          cross-check and approved a request for fees based only on the percentage of
      7
          recovery method, because it recognized that premising attorney’s fees on a
      8
          lodestar calculation would have unfairly penalized plaintiff's counsel for
      9
          settling the case without protracted litigation); In re Mfrs. Life Ins., 1998 WL
     10
          1993385 at *10 (S.D. Cal. 1998) (court concluded that lodestar analysis was
     11
          unnecessary and attorneys’ fee was reasonable solely on percentage of
     12
          recovery method). Nevertheless, the Court has the discretion to use the
     13
          lodestar method as a “cross-check” to confirm the reasonableness of the fee
     14
          award based on the percentage-of-common fund approach. Glass v. UBS Fin.
     15
          Servs., Inc., 331 F. App'x 452, 456 (9th Cir. 2009) (approving the district
     16
          court's “informal lodestar cross-check” for confirming the reasonableness of
     17
          the percentage award); Vizcaino, 290 F.3d at 1050 (same).
     18
                “The lodestar figure is calculated by multiplying the number of hours the
     19
          prevailing party reasonably expended on the litigation (as supported by
     20
          adequate documentation) by a reasonable hourly rate for the region and for the
     21
          experience of the lawyer.” In re Bluetooth Headset Products Liab. Litig., 654
     22
          F.3d at 941 (citing Staton v. Boeing Co., 327 F.3d 938, 965 (9th Cir. 2003)).
     23
          “Though the lodestar figure is 'presumptively reasonable' [citation omitted], the
     24
          court may adjust it upward or downward by an appropriate positive or negative
     25
          multiplier reflecting a host of 'reasonableness' factors, 'including the quality of
     26
          the representation, the benefit obtained for the class, the complexity and
     27
                                                         MEMORANDUM IN SUPPORT OF
     28                                                  MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
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          novelty of the issues presented, and the risk of nonpayment.'” In re Bluetooth,
      1
          654 F.3d at 941-42 (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029
      2
          (9th Cir. 1998)).
      3
                As stated above, the requested fee award of $1,137,500 based on one-
      4
          quarter of the Gross Settlement Amount under the Settlement represents a
      5
          modest multiplier of 1.20 times Class Counsel's collective lodestar of
      6
          $949,217.50. Plaintiffs have submitted ample evidence regarding the lodestar
      7
          value of Class Counsel's services in this Consolidated Action. This evidence
      8
          takes the form of detailed time-keeping and expense records showing the tasks
      9
          performed by Class Counsel. (Farley Decl. ¶¶ 32-33, Ex. A; Majarian Decl. ¶
     10
          7, Ex. A; Skripko Decl. ¶¶ 12-13, Ex. A; Denis Decl. ¶¶ 11-12, Ex. A; Rasi
     11
          Decl. ¶¶ 11-12, Ex. A). The break-down of the lodestar value of Class
     12
          Counsel's fees by timekeeper is as follows:
     13
                Robert Skripko            $750 per hr. X 458.40 hrs. = $343,800.00
     14
                Ethan Rasi                $450 per hr. X 303.10 hrs. = $136,395.00
     15
                Paul Denis                $525 per hr. X 372.50 hrs. = $195,562.50
     16
                Gregg A. Farley           $600 per hr. X 412.25 hrs. = $247,350.00
     17
                Sahag Majarian, II        $700 per hr. X 37.30 hrs. =      $26,110.00
     18
                                                            TOTAL = $949,217.50
     19
          (Farley Decl. ¶ 36).
     20
                As shown above, Class Counsel’s applicable hourly rates during the
     21
          pendency of the Consolidated Action have been: (i) $750 per hour for Robert
     22
          Skripko, (ii) $450 per hour for Ethan Rasi, (iii) 525 per hour for Paul Denis,
     23
          (iv) $600 per hour for Gregg A. Farley and (v) $700 per hour for Sahag
     24
          Majarian, II. These are reasonable rates in line with comparable hourly rates
     25
          charged by other firms that handle complex litigation in the Central
     26
          District/Los Angeles market. See e.g., Kearney v. Hyundai Motor Co., 2013
     27
                                                        MEMORANDUM IN SUPPORT OF
     28                                                 MOTION FOR MONETARY AWARDS TO
                                                        CLASS REPRESENATIVES, CLASS
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          WL 3287996 at *8 (C.D. Cal. 2013) (approving hourly rates between $650 and
      1
          $800 for class counsel); Parkinson v. Hyundai Motor America, 796 F.Supp.2d
      2
          1160, 1172 (C.D. Cal. 2010) (approving hourly rates between $445 and $675
      3
          for class counsel); see also POM Wonderful, LLC v. Purely Juice, Inc., 2008
      4
          WL 4351842 at *4 (C.D. Cal. 2008) (finding rates of $475 to $750 for partners
      5
          and $275 to $425 for associates reasonable in class action).
      6
                The reasonableness of Class Counsel's hourly rates is also reinforced by
      7
          the so-called “Laffey Matrix,” which is published at www.laffeymatrix.com.
      8
          The Laffey Matrix originated from Laffey v. Northwest Airlines, 572 F. Supp.
      9
          354 (D.D.C. 1983), aff'd in part, rev'd in part, 746 F.2d 4 (D.C. Cir. 1984),
     10
          overruled, Save Our Cumberland Mountains v. Hodel, 857 F.2d 1516, 1525
     11
          (D.C. Cir. 1988) (en banc). In Laffey, counsel compiled statistics showing the
     12
          market rates in the District of Columbia for complex federal litigation,
     13
          eventually resulting in an annual matrix of market fee rates for attorneys at
     14
          various experience levels. (Farley Decl. ¶¶ 34-35).
     15
                Attached as Exhibit B to the accompanying Declaration of Gregg A.
     16
          Farley is a copy of the current Laffey Matrix as of October 11, 2018. This
     17
          matrix shows that during the years when this Consolidated Action was
     18
          litigated, 2017 to 2019, the market rate for attorneys like Class Counsel with
     19
          “20+” years of experience was consistently over $800 per hour. (Farley Decl.
     20
          ¶¶ 34-35, Ex. B). Although the Laffey Matrix is limited the District of
     21
          Columbia, some California district courts have nonetheless relied on it and
     22
          adjusted its rates even higher because of the higher costs of living in Los
     23
          Angeles and other California cities. See, e.g., In re HPL Technologies, Inc.
     24
          Securities Litigation, 366 F. Supp. 2d 912, 921 (N.D. Cal. 2005); Garnes v.
     25
          Barnhardt, 2006 WL 249522 at * 7 (N.D. Cal. Jan. 31, 2006).
     26
          //
     27
                                                        MEMORANDUM IN SUPPORT OF
     28                                                 MOTION FOR MONETARY AWARDS TO
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                D.     The Amount Of Costs Requested Is Reasonable
      1
                Attorneys may recover their reasonable expenses that would typically be
      2
          billed to paying clients in non-contingency matters. See Harris v. Marhoefer,
      3
          24 F.3d 16, 19 (9th Cir. 1994). Plaintiffs is requesting the reimbursement of
      4
          Class Counsel's out-of-pocket litigation costs and expenses totaling $22,565.41
      5
          -- which is $7,434.59 less than the $30,000 in litigation costs and expenses
      6
          authorized by the Settlement. (Farley Decl. ¶¶ 31-36, Ex. A; Majarian Decl. ¶
      7
          8, Ex. A; Skripko Decl. ¶ 13, Ex. A; Denis Decl. ¶ 12, Ex. A; Rasi Decl. ¶ 12,
      8
          Ex. A).
      9
                Plaintiffs have provided detailed itemizations of these litigation costs
     10
          and expenses, which reflects that Class Counsel exercised good judgment in
     11
          incurring such costs and expenses. (Farley Decl. ¶¶ 32-33, Ex. A; Majarian
     12
          Decl. ¶ 7, Ex. A; Skripko Decl. ¶ 12, Ex. A; Denis Decl. ¶ 12, Ex. A; Rasi
     13
          Decl. ¶ 12, Ex. A). As these itemizations show, Class Counsel did not incur
     14
          costs or expenses for frivolous mattes such as first-class air travel in
     15
          prosecuting this Consolidated Action. Instead, Class Counsel incurred costs
     16
          and expenses only for matters reasonably necessary to the prosecution.
     17
          Moreover, it is likely that Class Counsel we will have to incur still further time
     18
          and costs in the future to complete the administration of this Settlement, for
     19
          which Class Counsel will not obtain any compensation.
     20
                E.     The Court Should Grant Request For A Service
     21
                       Payment Of $10,000 To Each Plaintiff
     22
                “[N]amed plaintiffs, as opposed to designated class members who are
     23
          not named plaintiffs, are eligible for reasonable incentive payments.” Staton,
     24
          327 F.3d at 977. “Incentive awards are fairly typical in class action cases.”
     25
          Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 958 (9th Cir. 2009).
     26

     27
                                                         MEMORANDUM IN SUPPORT OF
     28                                                  MOTION FOR MONETARY AWARDS TO
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                Incentive awards in the amount of $10,000.00 to each Plaintiff are within
      1
          the range of what is reasonable under the facts and circumstances of this
      2
          Settlement. Such an award, referred to as an “Incentive Payment” in the
      3
          Settlement, serves to reward Plaintiffs for the time and effort expended on
      4
          behalf of the Class and for exposing themselves to the significant risks of
      5
          litigation. As mentioned above, the Incentive Payment in the amount of
      6
          $10,000 is just a little more than five (5) times the $1,908 which a Valid
      7
          Claimant who worked the entire Class Period can expect to receive under the
      8
          Settlement.
      9
                Moreover, Plaintiffs assisted Class Counsel on numerous occasions, by
     10
          providing documents and information and supporting the settlement mediation
     11
          and settlement process. (Gonzalez Decl. ¶ 6; Jimenez Decl. ¶¶ 6, 12; Pimentel
     12
          Decl. ¶¶ 6, 12; Garcia Decl. ¶¶ 6, 12; Martinez Decl. ¶¶ 6, 12; Aguilar Decl. ¶¶
     13
          6, 12). In addition, by lending their names to this Consolidated Action,
     14
          Plaintiffs have subjected themselves to possible adverse consequences in
     15
          seeking future employment. Future employers have access to public records,
     16
          including the Court records in the Consolidated Action, which could be
     17
          considered by them in deciding whether to hire Plaintiffs. See Eddings v.
     18
          Health Net, Inc., 2013 WL 3013867 at * 7 (C.D. Cal. June 13, 2013)
     19
          (“[Plaintiff] also took a significant professional risk by serving as class
     20
          representative, as her future job prospects may be impaired by her involvement
     21
          in this case, because she sued her former employer.”); Roberts v. Texaco, 979
     22
          F. Supp. 185, 201 (S.D.N.Y. 1997); Cook v. Niedert, 142 F.3d 1004, 1015 (7th
     23
          Cir. 1998).
     24
                Finally, as part of the Settlement, Plaintiffs agreed to provide general
     25
          releases of any and all claims against Defendant which go far beyond the
     26
          limited release of wage and hour claims by Settlement Class Members.
     27
                                                         MEMORANDUM IN SUPPORT OF
     28                                                  MOTION FOR MONETARY AWARDS TO
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          (Gonzalez Decl. ¶ 6; Jimenez Decl. ¶ 6; Pimentel Decl. ¶ 6; Garcia Decl. ¶ 6;
      1
          Martinez Decl. ¶ 6; Aguilar Decl. ¶ 6). See Eddings, 2013 WL 3013867 at *7
      2
          (noting as part justification for a $6,000 incentive award that “Plaintiff is
      3
          executing a general release that will resolve her individual claims, as well as
      4
          the class claims”); see also Brawner v. Bank of American National Association,
      5
          2016 WL 161295 at *6 (N.D. Cal. Jan. 14, 2016) (awarding $15,000 incentive
      6
          award to single class representative in wage and hour class action); McCabe v.
      7
          Six Continents Hotels, Inc., 2016 WL 491332 at * 2 (N.D. Cal. Feb. 8, 2016)
      8
          (awarding $10,000 incentive awards to each of two class representatives).
      9
                F.     The Court Should Award $99,782 In Administration Costs
     10
                       and Expenses To Simpluris
     11
                Finally, pursuant to the terms of the Settlement, Plaintiffs are requesting
     12
          approval of the payment of $99,782.00 in settlement administration costs and
     13
          expenses to the Administrator, Simpluris. The Declaration of Jeremiah
     14
          Kincannon, the Administrator's representative, substantiates the services
     15
          provided by the Administrator and that the figure of $99,782.00 represents the
     16
          Administrator's costs and expenses of administration, as ultimately charged.
     17
          (Kincannon Decl. ¶ 22). The Court previously preliminarily approved, in
     18
          connection with the prior preliminary approval motion and the Parties’ prior
     19
          stipulations to modify the notice and claims procedure, settlement
     20
          administrations fees and costs totaling $93,872.66. The final requested award of
     21
          $99,782 to Simpluris is only modestly higher than the previously-approved fees
     22
          and costs of administration. To encourage participation in the Settlement,
     23
          Simpluris ended up conducting four (4) separate mailings to the Class. On June
     24
          22, 2018, Simpluris mailed the original Notice Packet consisting of the Court-
     25
          approved Notice, Claim Form and Request for Exclusion Form. Subsequently,
     26
          on July 23, August 1, and September 10, 2018, Simpluris mailed reminder
     27
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     28                                                  MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
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          postcards and notices to the Class. Simpluris has also processed responses from
      1
          2,456 Valid Claimants who returned Claim Forms and from 32 Opt-Out
      2
          Employees who returned Request for Exclusion Forms. (Kincannon Decl. ¶¶
      3
          15-16). Accordingly, Class Counsel believe that the requested administration
      4
          fees and costs in the amount of $99,782 are reasonable and appropriate given the
      5
          size of the Class and Settlement and the work required for administration.
      6
                III.   CONCLUSION
      7
                Based upon the foregoing, Plaintiffs respectfully request that the Court
      8
          enter a Judgment at the time of the final approval hearing authorizing the
      9
          awards requested above.
     10
          Dated: October 19, 2018         LAW OFFICES OF GREGG A. FARLEY
     11

     12                                   By: _______/s/Gregg A. Farley__________
     13                                                Gregg A. Farley
                                          Attorneys for Plaintiff Sergio Galicia
     14
                                          Gonzalez, appearing individually and in a
     15                                   representative capacity
     16
          Dated: October 19, 2018         LAW OFFICE OF ROBERT W. SKRIPKO,
     17                                   JR.
     18
                                          By: _______/s/Robert W. Skripko__________
     19                                                Robert W. Skripko
     20                                   Attorneys for Plaintiffs Ernesto Jimenez, Luis
     21                                   Pimentel, Jorge Garcia, Miguel Martinez and
                                          Agustin Aguilar, appearing individually and in
     22
                                          a representative capacity
     23

     24

     25

     26

     27
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     28                                                MOTION FOR MONETARY AWARDS TO
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          Counsel continued:
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      4
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     15

     16 Attorneys for Plaintiff Sergio Galicia Gonzalez, appearing

     17
          individually and in a representative capacity

     18

     19

     20

     21

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     23

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     26

     27
                                                          MEMORANDUM IN SUPPORT OF
     28                                                   MOTION FOR MONETARY AWARDS TO
                                                          CLASS REPRESENATIVES, CLASS
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